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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW MEXICO
Tim Pairsh,

               Plaintiff,

       vs.                                            Case No. 1:11-cv-00395-WDS -LFG

NCO Financial Systems, Inc.,

               Defendant.

                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff, Tim Pairsh, by and through his counsel of record, Weisberg & Meyers, LLC

(Larry Leshin), and Defendant NCO Financial Systems, Inc., by and through its counsel of

record, Gallagher Casados & Mann, P.C. (Nathan H. Mann), hereby stipulate to the dismissal

with prejudice of the above-captioned lawsuit. The parties have resolved all matters dealing with

the claims and matters set forth in the lawsuit making further litigation unnecessary. Each party

will bear its own costs and attorney fees.

                                                    Respectfully Submitted,

                                                    GALLAGHER CASADOS & MANN, P.C.

                                                By: /s/Nathan H. Mann
                                                    Nathan H. Mann
                                                    317 Commercial NE, Second Floor
                                                    Albuquerque, New Mexico 87102
                                                    Email: nmann@gcmlegal.com
                                                Attorney for Defendant NCO Financial Systems,
                                                Inc.

                                                    APPROVED:
                                                    WEISBERG & MEYERS, LLC

                                                By: E-mail Approval Received on 09/07/11
                                                    Larry Leshin
                                                    1216 Indiana St., N.E.
                                                    Albuquerque, New Mexico 87110
                                                    E-mail: llleshin@msn.com
                                                Attorney for Plaintiff Tim Pairsh
